Case 0:22-cv-60146-JIC Document 1 Entered on FLSD Docket 01/19/2022 Page 1 of 15




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                                 CASE:

 CARLOS BRITO,

             Plaintiff,
 v.

 LRF1 PEMBROKE PLACE LLC and JC
 PEMBROKE PINES INVESTMENTS
 LLC,

         Defendants.
 ______________________________________/

                                             COMPLAINT

        Plaintiff, CARLOS BRITO, individually and on behalf of all other similarly situated

 mobility-impaired individuals (hereinafter “Plaintiff”), sues LRF1 PEMBROKE PLACE LLC and

 JC PEMBROKE PINES INVESTMENTS LLC, (hereinafter “Defendants”), and as grounds

 alleges:

                              JURISDICTION, PARTIES. AND VENUE

        1.         This is an action for injunctive relief, a declaration of rights, attorneys' fees,

 litigation expenses, and costs pursuant to 42 U.S.C. § 12181, et seq., (the “Americans with

 Disabilities Act” or “ADA”) and 28 U.S.C. §§ 2201 and 2202.

        2.         The Court has original jurisdiction over Plaintiff’s claims arising under 42 U.S.C.

 § 12181, et seq. pursuant to 28 U.S.C. §§ 1331, 1343 and 42 U.S.C. § 12117(a).

        3.         The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 2201 and 2202,

 and may render declaratory judgment on the existence or nonexistence of any right under 42

 U.S.C. § 12181, et seq.

        4.         Plaintiff, CARLOS BRITO, is an individual over eighteen years of age, with a
Case 0:22-cv-60146-JIC Document 1 Entered on FLSD Docket 01/19/2022 Page 2 of 15




 residence in Miami-Dade County, Florida, and is otherwise sui juris.

         5.       At all times material, Defendant, LRF1 PEMBROKE PLACE LLC, owned and/or

 operated a commercial retail shopping center located at 10111-10345 Pines Blvd Pembroke Pines,

 Florida 33024 (hereinafter the “Commercial Property”) and conducted a substantial amount of

 business in that place of public accommodation in Broward County, Florida. Defendant, LRF1

 PEMBROKE PLACE LLC, holds itself out of the public as “Pembroke Place.”

         6.       At all times material, Defendant, LRF1 PEMBROKE PLACE LLC, was and is a

 Foreign Limited Liability Company, organized under the laws of the State of Florida, with its

 principal place of business in Boston, Massachusetts.

         7.       At all times material, Defendant, JC PEMBROKE PINES INVESTMENTS LLC,

 owned and/or operated a commercial restaurant at 10281 Pines Blvd, Pembroke Pines, Florida

 330261 (hereinafter the “Commercial Property”) and conducted a substantial amount of business

 in that place of public accommodation in Broward, Florida. Defendant, JC PEMBROKE PINES

 INVESTMENTS LLC, holds itself out of the public as “The Juicy Crab.”

         8.       At all times material, Defendant, JC PEMBROKE PINES INVESTMENTS LLC,

 was and is a Florida Limited Liability Company, incorporated under the laws of the State of

 Florida, with its principal place of business in Pembroke Pines, Florida.

         9.       Venue is properly located in the Southern District of Florida because Defendants’

 Commercial Property is located in Broward County, Florida, Defendants regularly conduct

 business within Broward County, Florida, and because a substantial part(s) of the events or

 omissions giving rise to these claims occurred in Broward County, Florida.


 1
  This address is located within the retail shopping center and place of public 10111-10345 Pines Blvd Pembroke
 Pines, Florida 33024, owned and operated by landlord Defendant, LRF1 PEMBROKE PLACE LLC.
                                                         2
Case 0:22-cv-60146-JIC Document 1 Entered on FLSD Docket 01/19/2022 Page 3 of 15




                                         FACTUAL ALLEGATIONS

         10.       Although over twenty-eight (28) years have passed since the effective date of Title

 III of the ADA, Defendants have yet to make its facilities accessible to individuals with

 disabilities.

         11.       Congress provided commercial businesses one and a half years to implement the

 Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the extensive

 publicity the ADA has received since 1990, Defendants continue to discriminate against people

 who are disabled in ways that block them from access and use of Defendants’ businesses and

 properties.

         12.       The ADA prohibits discrimination on the basis of disability in 28 CFR 36.201 and

 requires landlords and tenants to be liable for compliance.

         13.       Plaintiff, CARLOS BRITO, is an individual with disabilities as defined by and

 pursuant to the ADA. Plaintiff, CARLOS BRITO, is, among other things, a paraplegic (paralyzed

 from his T-6 vertebrae down) and is therefore substantially limited in major life activities due to

 his impairment, including, but not limited to, not being able to walk or stand. Plaintiff requires

 the use of a wheelchair to ambulate.

         14.       Defendant, LRF1 PEMBROKE PLACE LLC, owns, operates and/or oversees the

 Commercial Property, its general parking lot and parking spots.

         15.       The subject Commercial Property is open to the public and is located in Pembroke

 Pines, Florida.

         16.       The individual Plaintiff visits the Commercial Property and businesses located

 within the Commercial Property, regularly, to include visits to the Commercial Property and


                                                    3
Case 0:22-cv-60146-JIC Document 1 Entered on FLSD Docket 01/19/2022 Page 4 of 15




 businesses located within the Commercial Property on or about September 1, 2021 and

 encountered multiple violations of the ADA that directly affected his ability to use and enjoy the

 Commercial Property and businesses located therein. He often visits the Commercial Property

 and businesses located within the Commercial Property in order to avail himself of the goods and

 services offered there, and other businesses nearby, and because it is approximately twenty-eight

 (28) miles from his residence, and is near other businesses and restaurants he frequents as a patron.

 He plans to return to the Commercial Property and the businesses located within the Commercial

 Property within two (2) months of the filing of this Complaint, specifically on or before March

 14, 2022.

        17.     Plaintiff resides nearby in the adjacent county, Miami-Dade County, and in the

 same state as the Commercial Property and the businesses located within the Commercial

 Property, has regularly frequented the Defendants’ Commercial Property and the businesses

 located within the Commercial Property for the intended purposes because of the proximity to his

 residence and other businesses that he frequents as a patron, and intends to return to the

 Commercial Property and businesses located within the Commercial Property within two (2)

 months from the filing of this Complaint, specifically on or before March 14, 2022.

        18.     The Plaintiff found the Commercial Property, and the businesses located within

 the Commercial Property to be rife with ADA violations. The Plaintiff encountered architectural

 barriers at the Commercial Property, and businesses located within the Commercial Property and

 wishes to continue his patronage and use of each of the premises.

        19.     The Plaintiff has encountered architectural barriers that are in violation of the ADA

 at the subject Commercial Property, and businesses located within the Commercial Property. The


                                                   4
Case 0:22-cv-60146-JIC Document 1 Entered on FLSD Docket 01/19/2022 Page 5 of 15




 barriers to access at the Commercial Property, and the businesses located within the Commercial

 Property have each denied or diminished Plaintiff’s ability to visit the Commercial Property, and

 businesses located within the Commercial Property, and have endangered his safety in violation

 of the ADA. The barriers to access, which are set forth below, have likewise posed a risk of

 injury(ies), embarrassment, and discomfort to Plaintiff, CARLOS BRITO, and others similarly

 situated.

         20.    Defendants, LRF1 PEMBROKE PLACE LLC and JC PEMBROKE PINES

 INVESTMENTS LLC, own and/or operate a place of public accommodation as defined by the

 ADA and the regulations implementing the ADA, 28 CFR 36.201 (a) and 36.104. Defendants,

 LRF1 PEMBROKE PLACE LLC and JC PEMBROKE PINES INVESTMENTS LLC, are

 responsible for complying with the obligations of the ADA. The place of public accommodation

 that Defendants, LRF1 PEMBROKE PLACE LLC and JC PEMBROKE PINES INVESTMENTS

 LLC, own and operate the Commercial Property Business located at 10111-10345 Pines Blvd

 Pembroke Pines, Florida 33024.

         21.    Plaintiff, CARLOS BRITO, has a realistic, credible, existing and continuing threat

 of discrimination from the Defendants’ non-compliance with the ADA with respect to the

 described Commercial Property and the businesses located within the Commercial Property,

 including but not necessarily limited to the allegations in Counts I through II of this Complaint.

 Plaintiff has reasonable grounds to believe that he will continue to be subjected to discrimination

 at the Commercial Property, and businesses located within the Commercial Property, in violation

 of the ADA. Plaintiff desires to visit the Commercial Property and businesses located therein, not

 only to avail himself of the goods and services available at the Commercial Property, and


                                                  5
Case 0:22-cv-60146-JIC Document 1 Entered on FLSD Docket 01/19/2022 Page 6 of 15




 businesses located within the Commercial Property, but to assure himself that the Commercial

 Property and businesses located within the Commercial Property are in compliance with the ADA,

 so that he and others similarly situated will have full and equal enjoyment of the Commercial

 Property, and businesses located within the Commercial Property without fear of discrimination.

        22.     Defendant, LRF1 PEMBROKE PLACE LLC and JC PEMBROKE PINES

 INVESTMENTS LLC, as landlord and owner of the Commercial Property Business, is

 responsible for all ADA violations listed in Counts I through II.

        23.     Plaintiff, CARLOS BRITO, has a realistic, credible, existing and continuing threat

 of discrimination from the Defendants’ non-compliance with the ADA with respect to the

 described Commercial Property and businesses located within the Commercial Property, but not

 necessarily limited to the allegations in Counts I through II of this Complaint. Plaintiff has

 reasonable grounds to believe that he will continue to be subjected to discrimination at the

 Commercial Property, and businesses within the Commercial Property, in violation of the ADA.

 Plaintiff desires to visit the Commercial Property and businesses within the Commercial Property,

 not only to avail himself of the goods and services available at the Commercial Property and

 businesses located within the Commercial Property, but to assure himself that the Commercial

 Property, and businesses located within the Commercial Property are in compliance with the

 ADA, so that he and others similarly situated will have full and equal enjoyment of the

 Commercial Property, and businesses located within the Commercial Property without fear of

 discrimination.

        24.     Defendants have discriminated against the individual Plaintiff by denying him

 access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages


                                                  6
Case 0:22-cv-60146-JIC Document 1 Entered on FLSD Docket 01/19/2022 Page 7 of 15




     and/or accommodations of the Commercial Property, and businesses located within the

     Commercial Property, as prohibited by 42 U.S.C. § 12182 et seq.

                                   COUNT I – ADA VIOLATIONS
                               AS TO LRF1 PEMBROKE PLACE LLC.

            25.     The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

     24 above as though fully set forth herein.

            26.     Defendant, LRF1 PEMBROKE PLACE LLC, has discriminated, and continues to

     discriminate, against Plaintiff in violation of the ADA by failing, inter alia, to have accessible

     facilities by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees and

     gross receipts of $500,000 or less). A list of the violations that Plaintiff encountered during his

     visit to the Commercial Property, include but are not limited to, the following:

        A. Parking

 i.     The plaintiff had difficulty exiting the vehicle, as designated accessible parking spaces are

        located on an excessive slope. Violation: There are accessible parking spaces located on an

        excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4 of the 2010 ADA

        Standards, whose resolution is readily achievable.

ii.     The plaintiff had difficulty exiting the vehicle, as designated accessible parking space access

        aisles are located on an excessive slope. Violation: There are accessible parking space access

        aisles located on an excessive slope violating Section 4.6.3 of the ADAAG and Section

        502.4 of the 2010 ADA Standards, whose resolution is readily achievable.

        B. Entrance Access and Path of Travel

i.      The plaintiff had difficulty traversing the path of travel, as it is not continuous and accessible.

        Violation: There are inaccessible routes from the public sidewalk and transportation stop.

                                                       7
Case 0:22-cv-60146-JIC Document 1 Entered on FLSD Docket 01/19/2022 Page 8 of 15




       These are violations of the requirements in Sections 4.3.2(1), 4.3.8, 4.5.1, and 4.5.2 of the

       ADAAG and Sections 206.2.1, 302.1, 303, and 402.2 of the 2010 ADA Standards, whose

       resolution is readily achievable.

ii.    The plaintiff had difficulty traversing the path of travel due to abrupt changes in level.

       Violation: There are changes in levels of greater than ½ inch, violating Sections 4.3.8 and

       4.5.2 of the ADAAG and Section 303 of the 2010 ADA Standards, whose resolution is readily

       achievable.

iii.   The plaintiff had difficulty using ramps, as they are located on an excessive slope. Violation:

       Ramps at the facility contain excessive slopes, violating Section 4.8.2 of the ADAAG and

       Section 405.2 of the 2010 ADA Standards, whose resolution is readily achievable.

iv.    The plaintiff had difficulty using some of the curb ramps, as the slopes are excessive.

       Violation: There are curb ramps at the facility that contain excessive slopes, violating Section

       4.7.2 of the ADAAG and Sections 405.2 and 406.1 of the 2010 ADA Standards, whose

       resolution is readily achievable.

v.     The plaintiff had difficulty traversing the path of travel, as it was not continuous and

       accessible. Violation: There are inaccessible routes between sections of the facility. These are

       violations of the requirements in Sections 4.3.2(2), 4.3, and 4.5 of the ADAAG and Sections

       206.2.2, 303, 402 and 403, whose resolution is readily achievable.

                                COUNT II – ADA VIOLATIONS
                             AS TO LRF1 PEMBROKE PLACE LLC
                        and JC PEMBROKE PINES INVESTMENTS LLC.

          27.     The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

  24 above as though fully set forth herein.


                                                    8
 Case 0:22-cv-60146-JIC Document 1 Entered on FLSD Docket 01/19/2022 Page 9 of 15




          28.     Defendants, LRF1 PEMBROKE PLACE LLC and JC PEMBROKE PINES

  INVESTMENTS LLC., have discriminated, and continues to discriminate, against Plaintiff in

  violation of the ADA by failing, inter alia, to have accessible facilities by January 26, 1992 (or

  January 26, 1993, if a Defendant has 10 or fewer employees and gross receipts of $500,000 or

  less). A list of the violations that Plaintiff encountered during his visit to the Commercial Property,

  include but are not limited to, the following:

      A. Access to Goods and Services

 i.   The plaintiff could not utilize the bar counter, as it is mounted too high. Violation: There are

      bar counters that are not at the prescribed height, violating Section 4.32.4 and 5.2 of the

      ADAAG and Section 902.3 of the 2010 ADA Standards, whose resolution is readily

      achievable.

      B. Public Restrooms

 i.   The plaintiff could not use the lavatories outside the toilet compartment without assistance, as

      the required knee and toe clearance is not provided. Violation: There are lavatories in public

      restrooms without the required clearances provided outside the accessible toilet compartment,

      violating the requirements in Section 4.19.2 and Figure 31 of the ADAAG and Sections

      213.3.4, 306, and 606.2 of the 2010 ADA Standards, whose resolution is readily achievable.

ii.   The plaintiff could not enter the accessible toilet compartment without assistance, as the

      required maneuvering clearance is not provided. Violation: The accessible toilet compartment

      does not provide the required latch side clearance at the door violating Sections 4.13.6 and

      4.17.5 of the ADAAG and Sections 404.2.4 and 604.8.1.2 of the 2010 ADA Standards, whose

      resolution is readily achievable.


                                                     9
 Case 0:22-cv-60146-JIC Document 1 Entered on FLSD Docket 01/19/2022 Page 10 of 15




iii.   The plaintiff was exposed to a cutting/burning hazard because the lavatory pipes are not

       wrapped. Violation: The lavatory pipes are not fully wrapped or insulated violating Section

       4.19.4 of the ADAAG and Section 606.5 of the 2010 ADA Standards, whose resolution is

       readily achievable.

iv.    The plaintiff could not use the mirror, as it is mounted too high. Violation: The mirrors

       provided in the restrooms are in violation of the requirements in Section 4.19.6 of the ADAAG

       and Section 603.3 of the 2010 ADA Standards, whose resolution is readily achievable.

 v.    The plaintiff could not use the coat hook without assistance, as it is mounted too high.

       Violation: There are coat hooks provided for public use in the restroom, outside the reach

       ranges prescribed in Sections 4.2.5, 4.2.6, and 4.25.3 of the ADAAG and Sections 308 and

       604.8.3 of the 2010 ADA Standards, whose resolution is readily achievable.

vi.    The plaintiff could not transfer to the toilet without assistance, as the grab bars are not mounted

       at the required height and the side grab bar is not the required length. Violation: The grab bars

       in the accessible toilet compartment do not comply with the requirements prescribed in Section

       4.17.6 of the ADAAG and Sections 604.5.1 & 609.4 of the 2010 ADA Standards, whose

       resolution is readily achievable.

vii.   The plaintiff could not use the toilet paper dispenser without assistance, as it is not mounted at

       the required location. Violation: The toilet paper dispenser in the accessible toilet compartment

       is not mounted in accordance with Section 4.17.6 and Figure 30(d) of the ADAAG and Section

       604.7 of the 2010 ADA Standards, whose resolution is readily achievable.




                                                     10
  Case 0:22-cv-60146-JIC Document 1 Entered on FLSD Docket 01/19/2022 Page 11 of 15




viii.      The plaintiff could not transfer to the toilet without assistance, as objects are mounted less than

           12” above a grab bar obstructing its use. Violation: The grab bars in the accessible toilet

           compartment do not comply with the requirements prescribed in Sections 4.17.6 and 4.26 of

           the ADAAG and Section 609.3 of the 2010 ADA Standards, whose resolution is readily

           achievable.

 ix.       The plaintiff could not use the accessible toilet compartment door without assistance, as it does

           not have compliant door hardware. Violation: The accessible toilet compartment door does not

           provide hardware and features that comply with Sections 4.17.5 and 4.13.9 of the ADAAG

           and Sections 309.4 and 604.8.1.2 of the 2010 ADA Standards, whose resolution is readily

           achievable.

  x.       The plaintiff could not transfer to the toilet without assistance, as a trashcan obstructs the clear

           floor space. Violation: The required clear floor space is not provided next to the toilet, violating

           Section 4.16.2 and Figure 28 of the ADAAG, 28 CFR 36.211, and Section 604.3 of the 2010

           ADA Standards, whose resolution is readily achievable.

                                     RELIEF SOUGHT AND THE BASIS

               29.     The discriminatory violations described in Counts I through II are not an exclusive

        list of the Defendants’ ADA violations. Plaintiff requests an inspection of the Defendants’ places

        of public accommodation in order to photograph and measure all of the discriminatory acts

        violating the ADA and barriers to access in conjunction with Rule 34 and timely notice. Plaintiff

        further requests to inspect any and all barriers to access that were concealed by virtue of the

        barriers' presence, which prevented Plaintiff, CARLOS BRITO, from further ingress, use, and

        equal enjoyment of the Commercial Business and businesses located within the Commercial


                                                         11
Case 0:22-cv-60146-JIC Document 1 Entered on FLSD Docket 01/19/2022 Page 12 of 15




  Property; Plaintiff requests to be physically present at such inspection in conjunction with Rule

  34 and timely notice. A complete list of the Subject Premises’ ADA violations, and the remedial

  measures necessary to remove same, will require an on-site inspection by Plaintiff’s

  representatives pursuant to Federal Rule of Civil Procedure 34.

         30.     The individual Plaintiff, and all other individuals similarly situated, have been

  denied access to, and have been denied full and equal enjoyment of the goods, services, facilities

  privileges, benefits, programs and activities offered by Defendants, Defendants’ buildings,

  businesses and facilities; and has otherwise been discriminated against and damaged by the

  Defendants because of the Defendants’ ADA violations as set forth above. The individual

  Plaintiff, and all others similarly situated, will continue to suffer such discrimination, injury and

  damage without the immediate relief provided by the ADA as requested herein. In order to remedy

  this discriminatory situation, The Plaintiff requires an inspection of the Defendants’ place of

  public accommodation in order to determine all of the areas of non-compliance with the

  Americans with Disabilities Act.

         31.     Defendants have discriminated against the individual Plaintiff by denying him

  access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

  accommodations of its place of public accommodation or commercial facility, in violation of 42

  U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, Defendants continue to

  discriminate against Plaintiff, and all those similarly situated, by failing to make reasonable

  modifications in policies, practices or procedures, when such modifications are necessary to afford

  all offered goods, services, facilities, privileges, advantages or accommodations to individuals

  with disabilities; and by failing to take such efforts that may be necessary to ensure that no


                                                   12
Case 0:22-cv-60146-JIC Document 1 Entered on FLSD Docket 01/19/2022 Page 13 of 15




  individual with a disability is excluded, denied services, segregated or otherwise treated

  differently than other individuals because of the absence of auxiliary aids and services.

          32.     Plaintiff is without adequate remedy at law, will suffer irreparable harm, and has a

  clear legal right to the relief sought. Further, injunctive relief will serve the public interest and all

  those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is entitled

  to recover attorneys’ fees, costs and litigation expenses from Defendants pursuant to 42 U.S.C. §

  12205 and 28 CFR 36.505.

          33.     A Defendant is required to remove the existing architectural barriers to the

  physically disabled when such removal is readily achievable for their place of public

  accommodation, The Plaintiff and all others similarly situated, will continue to suffer such

  discrimination, injury and damage without the immediate relief provided by the ADA as requested

  herein. In order to remedy this discriminatory situation, The Plaintiff requires an inspection of the

  Defendants’ place of public accommodation in order to determine all of the areas of non-

  compliance with the Americans with Disabilities Act.

          34.     Notice to Defendants is not required as a result of the Defendants’ failure to cure

  the violations by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees

  and gross receipts of $500,000 or less). All other conditions precedent have been met by Plaintiff

  or waived by the Defendants.

          35.     Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

  Plaintiff Injunctive Relief, including an order to alter the property where Defendants operate their

  businesses, located at and/or within the commercial property located at 10111-10345 Pines Blvd

  Pembroke Pines, the exterior areas, and the common exterior areas of the Commercial Property


                                                     13
Case 0:22-cv-60146-JIC Document 1 Entered on FLSD Docket 01/19/2022 Page 14 of 15




  and businesses located within the Commercial Property, to make those facilities readily accessible

  and useable to The Plaintiff and all other mobility-impaired persons; or by closing the facility

  until such time as the Defendants cure the violations of the ADA.

             WHEREFORE, The Plaintiff, CARLOS BRITO, respectfully requests that this

  Honorable Court issue (i) a Declaratory Judgment determining Defendants at the commencement

  of the subject lawsuit were and are in violation of Title III of the Americans with Disabilities Act,

  42 U.S.C. § 12181 et seq.; (ii) Injunctive relief against Defendants including an order to make all

  readily achievable alterations to the facilities; or to make such facilities readily accessible to and

  usable by individuals with disabilities to the extent required by the ADA; and to require Defendants

  to make reasonable modifications in policies, practices or procedures, when such modifications

  are necessary to afford all offered goods, services, facilities, privileges, advantages or

  accommodations to individuals with disabilities; and by failing to take such steps that may be

  necessary to ensure that no individual with a disability is excluded, denied services, segregated or

  otherwise treated differently than other individuals because of the absence of auxiliary aids and

  services; (iii) An award of attorneys’ fees, costs and litigation expenses pursuant to 42 U.S.C. §

  12205; and (iv) such other relief as the Court deems just and proper, and/or is allowable under

  Title III of the Americans with Disabilities Act.




                                                   14
Case 0:22-cv-60146-JIC Document 1 Entered on FLSD Docket 01/19/2022 Page 15 of 15




  Dated: January 19, 2022.                  GARCIA-MENOCAL & PEREZ, P.L.
                                            Attorneys for Plaintiff
                                            4937 SW 74th Court
                                            Miami, Florida 33155
                                            Telephone: (305) 553-3464
                                            Facsimile: (305) 553-3031
                                            Primary E-Mail: ajperez@lawgmp.com
                                            Secondary E-Mails: dperaza@lawgmp.com

                                            By: ___/s/_Anthony J. Perez________
                                                   ANTHONY J. PEREZ
                                                   FLORIDA BAR NO.: 535451
                                                   BEVERLY VIRUES
                                                   FLORIDA BAR NO.: 123713




                                       15
